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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                                                 )
IV AN LAGUNA and MARGARITA                       )
                                                 )
LOPEZ,
                 Plaintiffs,                     )       C.A. No. 3:23-cv-30016-KAR
                                                 )
V.
                                                 )
                                                 )
LAZER SAFE, PTY, LTD,                            )
FIESSLER ELECTRONIK GmbH                          )
& CO., KG., ERMAK USA, INC.,                      )
ERMAKSAN TURKE Y a/k/a                            )
ERMAKSAN MAK.INA SANAYI                           )
VE iICARE T A.S., and JOHN DOE                    )
DISTRIBUTOR,                                      )
                    Defendants.                    )


                 DECLARATION OF IAN COSTLEY IN SUPPORT OF
                  LAZER SAFE PTY LTDS' MOTION TO DISMISS

           I, Ian Costley, under penalty of perjury pursuant to the laws of the United

 States of America, declare and affirm that the following statements are true and

 correct.

            1.     I am the Chief Executive Officer of Lazer Safe Pty Ltd (Lazer Safe).

 I have personal knowled ge about the business operations and corporate structure of

 Lazer Safe.

            2.      The facts set forth in this declaration are true and correct and are based

 upon information personally known to me or made upon information and belief after

 appropriate investigation.

            3.      Lazer Safe is a privately-owned company organized under the laws of

     Australia with its principal place of business in Perth, Western Australia.

            4.      Lazer Safe is not incorporated, registered or licensed to do business

     in Massachusetts.
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              s.     Lazer Safe has had no and has no employees and/or assets in

   Massachusetts.

          6.         Lazer Safe has not employed and does not employ any management

  personnel in Massachusetts.

          7.         Lazer Safe has no agent for service of process in Massachusetts.

          8.        Lazer Safe has not maintained and does not maintain any office,

  facility, mailing address or telephone listing in Massachusetts.

         9.         Lazer Safe has not and does not lease or own property in

 Massachusetts.

         I 0.       Lazer Safe has not sold and does not sell any products in

 Massachusetts.

         I I.       Lazer Safe has not and does not perform services for any person or

 firm in Massachusetts.

         12.        Lazer Safe has not had and does not have a bank account in

 Massachusetts, and has not and does not pay taxes in Massachusetts.

        13.        Lazer Safe has not consented and does not consent to be sued in the

state or federal courts of Massachusetts.

        14.        Lazer Safe has never conducted or directed any advertising or

marketing activities to or in Massachusetts.

        J5.        Lazer Safe maintains a website domain directed to North America but

it is not directed specifically to Massachusetts.

       16.         Lazer Safe has earned no income from Massachusetts.

       17.         Lazer Safe produces al I of its close proximity guards in Perth,

Western Australia.
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         18.     In selling our components to Ermaksan Turkey, Lazer Safe had no

 knowledge that any of its products or components would eventually be shipped to

 and used in Massachusetts.

        19.      Lazer Safe did not sell, package, ship or introduce any of its

 products into Massachusetts, and Lazer Safe had no knowledge or information that

 any of its products might end up in Massachusetts.

        20.      Lazer Safe was in no way involved with and had no business

dealings with Ermaksan USA regarding the press brake machine described in the

plaintiffs' Second Amended Complaint or its component parts, and had no part in

its marketing, shipping distribution, shipping, or sale. Massachusetts.

        21.      At the time of the sale of its products to Ermaksan Turkey, the

ultimate purchaser/user of any assembled machine and its location were not known

to Lazer Safe.

        22.      Although Lazer Safe shipped products to the machine manufacturer

in Turkey, Lazer Safe did not know onto what specific machine they would

eventually be mounted and did not know that any Lazer Safe product would end

up in Massachusetts.

       23.       With respect to the transactions, events and occurrences made the

basis of this lawsuit, Lazer Safe did not enter Massachusetts, did not engage or

participate in any activity or conduct in Massachusetts, did not direct or transmit

any activity or event to or into Massachusetts, did not avail itself of any business

activity or benefit directly from Massachusetts, and had no presence in

Massachusetts at all. All activities undertaken by Lazer Safe regarding its products

and components were performed in Perth, Western Australia.
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       24.    We have never sold any product into Massachusetts or earned any

income from Massachusetts.

       25.    I have read the foregoing declaration, and the factual statements

contained therein are true and correct to the best of my knowledge, information

and belief.

       Signed and sworn, by Ian Costley, under penalty of perjury pursuant to the

laws of the United States of America this !l'5iay of :1&_6'1& ]?, 2023.




Date: ~ ' ( ~ U'Z-1.
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                                 CERTIFICATE OF SERVICE

        I, John J. Jarosak, hereby certify the foregoing document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on December
6, 2023

                                               /s/ John J. Jarosak
                                               John J. Jarosak
